Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 1 of 62 PageID 9731




                            EXHIBIT 61




                                                                  Appx. 01150
       Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                                                                   Page 2 of 62 PageID 9732
                                                                                                                                          Claim #254 Date Filed: 1/11/2022

 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of   Texas
                                                                                         (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                            04/19
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  CLO HoldCo, Ltd.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               CLO HoldCo, Ltd.                                                                CLO HoldCo, Ltd.
   creditor be sent?                                                                                             2101 Cedar Springs Road
                                 Louis M. Phillips
                                 Name                                                                             Name
                                 301  Main Street                                                                Ste.  1200
    Federal Rule of              Ste. 1600                                                                       Dallas, TX 75201
    Bankruptcy Procedure         Number    Street                                                                Number          Street
    (FRBP) 2002(g)               Baton Rouge, LA 70801
                                 City                                State                 ZIP Code              City                             State                  ZIP Code

                                 Contact phone                                                                   Contact phone

                                 Contact email      louis.phillips@kellyhart.com                                 Contact email


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim                      No
   amend one already
   filed?                        ✔ Yes.          Claim number on court claims registry (if known) 198                                       Filed on 04/08/22
                                                                                                                                                    MM     /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
                                                                                                                                                                        page 1

                                                                                                                                                          Appx. 01151
      Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                                                  Page 3 of 62 PageID 9733
Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ unknown, see addendum p 10                 . Does this amount include interest or other charges?
                                                                                 ✔ No
                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 Participation and Tracking Interest in investment funds, see addendum


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
                                                                                                                                                page 2

                                                                                                                                      Appx. 01152
       Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                                                                   Page 4 of 62 PageID 9734
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $3,025* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $13,650*) earned within 180
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                 ✔       I am the creditor.
FRBP 9011(b).
                                          I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             01/11/2022
3571.                                                               MM / DD / YYYY




                                   /s/Mark Patrick
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Mark Patrick
                                                             First name                             Middle name                            Last name

                                  Title                      Director
                                  Company                    CLO HoldCo, Ltd.
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street




                                  Contact phone
                                                             City
                                                                                                                 ¨1¤}HV6!+         State

                                                                                                                                   Email
                                                                                                                                        2`«
                                                                                                                   1934054220111000000000018
                                                                                                                                                     ZIP Code




 Official Form 410                                                        Proof of Claim
                                                                                                                                                                    page 3

                                                                                                                                                         Appx. 01153
   Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                                       Page 5 of 62 PageID 9735
                                           KCC ePOC Electronic Claim Filing Summary
                                    For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
              19-34054 - Highland Capital Management, L.P.
       District:
               Northern District of Texas, Dallas Division
       Creditor:                                                          Has Supporting Documentation:
               CLO HoldCo, Ltd.                                                 Yes, supporting documentation successfully uploaded
                Louis M. Phillips                                         Related Document Statement:
                301 Main Street
                                                                          Has Related Claim:
                Ste. 1600
                                                                                 No
                Baton Rouge, LA, 70801                                    Related Claim Filed By:
                Phone:
                                                                          Filing Party:
                Phone 2:
                                                                                 Creditor
                Fax:
                Email:
                louis.phillips@kellyhart.com
       Disbursement/Notice Parties:
              CLO HoldCo, Ltd.
                2101 Cedar Springs Road
                Ste. 1200
                Dallas, TX, 75201
                Phone:
                Phone 2:
                Fax:
                E-mail:

                DISBURSEMENT ADDRESS
       Other Names Used with Debtor:                                      Amends Claim:
                                                                                 Yes - 198, 04/08/22
                                                                          Acquired Claim:
                                                                                   No
       Basis of Claim:                                                     Last 4 Digits:        Uniform Claim Identifier:
              Participation and Tracking Interest in investment funds, see         No
              addendum
       Total Amount of Claim:                                              Includes Interest or Charges:
              unknown, see addendum p 10                                           No
       Has Priority Claim:                                                 Priority Under:
              No
       Has Secured Claim:                                                 Nature of Secured Amount:
             No                                                           Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
             No
       Based on Lease:                                                    Arrearage Amount:
                No                                                        Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              No
       Submitted By:
              Mark Patrick on 11-Jan-2022 9:04:55 p.m. Eastern Time
       Title:
            Director
       Company:
            CLO HoldCo, Ltd.




VN: 629650836DA8F3C9C338621AE3DAAADE
                                                                                                                   Appx. 01154
    Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                             Page 6 of 62 PageID 9736



                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

    In re:                       §                                  Case No. 19-34054-sgj11
                                 §
    HIGHLAND CAPITAL MANAGEMENT, §                                  Chapter 11
    L.P.,                        §
                                 §                                  Relates to Claim Nos. 133 and 198
          Debtor                 §

                         ADDENDUM TO AMENDED PROOF OF CLAIM

             CLO HoldCo, Ltd. (“CLO HoldCo”) files this Addendum to Amended Proof of Claim,

which relates to the Proof of Claim submitted herewith which amends Proof of Claim 198 (the

“First Amended CLO HoldCo Crusader Claim”), which amended Proof of Claim No. 133 (the

“Initial Claim”).


                                                BASIS FOR CLAIM

      A. HCMLP Crusader Interest and the Participation and Tracking Interest

             1.    The above-captioned debtor (“HCMLP” or the “Debtor”) served as investment

manager for the Highland Crusader Funds (the “Crusader Funds”) which were formed between

2000 and 2002 consisting of the Highland Crusader Fund, L.P. (the “Onshore Crusader Fund”)

and Highland Crusader Fund II, Ltd. (the “Offshore Crusader Fund”), and the capital through the

Onshore Crusader Fund and Offshore Crusader Fund was pooled into a Master Fund. See Partial

Final Award, AAA Case No. 01-16-0002-6927 (“Partial Final Award”) §IA,2.1




1
         The pleadings in the Arbitration are available to HCMLP and the Litigation Trustee. Pursuant to the Court’s
Agreed Protective Order [Dkt. No. 382], parties have previously identified pleadings in the Arbitration as designated
Highly Confidential and only subject to disclosure under the procedures set forth in Local Rule 9077-1. CLO HoldCo
quotes relevant provisions of such pleadings herein and will provide such pleadings as necessary pursuant to applicable
procedures.

                                                          1



                                                                                                       Appx. 01155
 Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                   Page 7 of 62 PageID 9737



        2.     During the 2008 market decline, HCMLP was flooded with redemption request

from Crusader Fund investors, and on October 15, 2008, HCMLP placed the Crusader Funds in

wind-down, “compulsorily redeeming” Crusader Fund’s limited partnership interests. Id. at §II.

Pursuant to a 2011 adoption of the negotiated “Plan and Scheme,” HCMLP was to manage, sell,

and distribute assets with the Committee of Redeemers in the Highland Crusader Fund (the

“Redeemer Committee”) to oversee the process with an increased level of influence. Id.

        3.     According to that certain Participation Interest and the Tracking Interest Schedule,

HCMLP granted certain participation interest (the “Participation Interest”) in certain participating

shares of the Onshore Crusader Fund and the Offshore Crusader Fund (“HCLMP Crusader

Interest”) and a tracking interest (the “Tracking Interest”) in certain participating shares of the

HCLMP Crusader Interest.       See Attachment A [Schedule I, the Participation and Tracking

Interest].

        4.     The Participation and Tracking Interest were expressly freely assignable and the

obligations thereunder owed by HCMLP to the holder of the Participation and Tracking Interest.

Id.

        5.     The Participation and Tracking Interest were received and accepted by Highland

Dallas Foundation, Inc. from The Get Good Nonexempt Trust pursuant to a Unanimous Written

Consent of Directors in Lieu of Meeting dated December 28, 2016 (“HDF Consent”). See

Attachment B - Transfer Documents. The HDF Consent further contributed the Participation and

Tracking Interest to the Charitable DAF HoldCo, Ltd. (“DAF HoldCo”) Id.

        6.     Charitable DAF Holdco the contributed the Participation and Tracking Interest to

Charitable DAF Fund, LP (“DAF Fund”).            See Transfer Documents.       Finally, DAF Fund



                                                 2



                                                                                       Appx. 01156
 Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                  Page 8 of 62 PageID 9738



contributed and transferred the Participation and Tracking Interest to CLO HoldCo by Written

Resolution effective December 28, 2016. See Transfer Documents.

       7.     CLO HoldCo is thus the holder of the Participation and Tracking Interest.

       8.     Pursuant to the Participation and Tracking Interest Schedule, HCMLP agreed that:

       Subject to any applicable tax withholding, HCMLP shall promptly pay to the
       holder of the Participation Interest an amount equal to such holder’s share of
       each amount received and applied by HCMLP (or Eames, Ltd., a wholly-owned
       subsidiary of HCMLP, if applicable) in payment of distributions, Plan Claims (as
       defined in the Joint Plan of Distribution of the Crusader Funds adopted by Highland
       Crusader Offshore Partners, L.P., the Onshore Crusader Fund, Highland Crusader
       Fund, Ltd. and the Offshore Crusader Fund, and the Scheme of Arrangement
       between the Offshore Crusader Fund and its Scheme Creditors, as applicable) and
       proceeds of any sale, assignment or other disposition of any interest, in each
       case, with respect to or in the Participating Shares (such holder’s share of such
       amounts, collectively, the “Participation Proceeds”). Pending such payment of
       Participation Proceeds by HCMLP to the holder of the Participation Interest,
       HCMLP will hold the Participation Proceeds in trust for the benefit of such holder
       and will not commingle such amounts with other property of HCMLP. Subject to
       any applicable tax withholding, HCMLP shall promptly pay to the holder of the
       Tracking Interest an amount equal to each amount received and applied by
       HCMLP in payment of distributions, Plan Claims and proceeds of any sale,
       assignment or other disposition of any interest, in each case, with respect to or
       in the Underlying Shares. Notwithstanding anything herein to the contrary, except
       for the right to receive amounts specified in this paragraph, no holder shall have, by
       reason of the Participation Interest or the Tracking Interest, any rights with respect
       to the Participating Shares or the Tracking Shares.

       See Participation and Tracking Interest Schedule (emphasis added).

       9.     As such, HCMLP is obligated to pay to CLO HoldCo (as holder of the Participation

Interest and Tracking Interest) the proceeds of any sale, assignment, or other disposition of any

interest with respect to or in the HCMLP Crusader Interest.

   B. The Arbitration

       10.    The Redeemer Committee terminated HCMLP on July 5, 2016 (effective August

4, 2016), and on July 6, 2016, the Redeemer Committee filed a Notice of Claim before the AAA

commencing arbitration case No. 01-16-0002-6927 (the “Arbitration”) against HCMLP. Partial
                                                3



                                                                                      Appx. 01157
 Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                  Page 9 of 62 PageID 9739



Final Award. On October 14, 2016, the Redeemer Committee amended its Notice of Claim and

asserted willful misconduct and violation of fiduciary and contractual duties by HCMLP as

investment manager of the Crusader Funds. Id.

       11.      An evidentiary hearing in the Arbitration took place over several days in September

2018, and certain post hearing briefing occurred until the Arbitration record was declared closed

on December 12, 2018. Id. at §II. On March 6, 2019, the Arbitration panel issued a Partial Final

Award. In part, the panel explained that from December 2013 through January 2016, HCMLP

purchased twenty-seven Plan Claims (as defined in the Plan and Scheme) from Crusader Funds

investors without approval of the Redeemer Committee. Id., §III(H).

       12.      The panel found that the Redeemer Committee would have exercised its right of

first refusal (“ROFR”) as to those Plan Claims if it had been given full information by HCMLP

and had HCMLP not been preventing the exercise of the ROFR by invoking a certain TRO and

misrepresenting to buyers that it had ROFR. Id. The panel thus determined that HCMLP breached

the Plan and Scheme and its fiduciary duty to the Redeemer Committee and ordered HCMLP to

transfer the purchased Plan Claims to the Redeemer Committee. Id.

       13.      As to the calculation of damages owed by HCMLP, the panel rejected the Redeemer

Committee’s methodology (that the fair market value of each of the Plan Claims was the NAV).

Id. at ¶H,24.

       14.      Instead, the panel adopted the alternative approach of rescission, and ordered

HCMLP “to transfer the [Plan Claims] to the Redeemer Committee, to pay to the [Redeemer

Committee] whatever financial benefits [HCMLP] received from the transactions, less what

[HCMLP] paid for the Plan Claims, plus interest at the rate of 9%, from the date of each purchase.”

Id. at ¶H,25.

                                                 4



                                                                                      Appx. 01158
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                    Page 10 of 62 PageID 9740



        15.     The panel left the hearing open so that the parties could supplement by subsequent

damages analyses. Id., see Final Award, ¶E,b,7.

        16.     On May 9, 2019, the panel issued the Final Award (the “Final Award”). The Final

Award adopts the previous awards and made certain clerical corrections, and made final awards,

including: ordering that the HCMLP purchased Plan Claims be transferred to the Redeemer

Committee for benefit of the Crusader Funds or the Redeemer Committee cause the Crusader

Funds to extinguish those claims, and for damages in the amount of $3,106,414. See Id., ¶F.

        17.     Because CLO HoldCo was not a party to the Arbitration, it does not have access to

the models provided by the parties. But the panel was clear that the damages amount was to be

net of the price paid by HCMLP for the Plan Claims, meaning that HCMLP received a credit

against the damages award by virtue of the transfer or extinguishment of the HCMLP Crusader

Interest.

        18.     The exact amount of this credit is unknown to CLO HoldCo, but known to HCMLP

and will be elicited through the discovery process now that this is a contested matter. However,

upon information and belief, the credit is estimated to be at least $3,788,932 (which amount was

calculated using some Crusader Fund documents to which CLO HoldCo has access, as HCMLP

documents and Arbitration documents are not available to CLO HoldCo), and up to an amount that

is the difference between the amount of the award ($3,106,414), and the initial Crusader valuation

of its claim ($8,897,899), or up to the difference of $5,791,485 (this difference very likely reflects

the credit for the purchase price paid by HCMLP). CLO HoldCo reserves the right to further

amend upon receipt of the records of HCMLP, which should establish the precise purchase price

paid for the interests.



                                                  5



                                                                                        Appx. 01159
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                   Page 11 of 62 PageID 9741



          19.   After the Final Award was entered, the Redeemer Committee then moved to

confirm the Final Award in Chancery Court and HCMLP brought certain procedural challenges in

a Motion to Vacate, essentially arguing that the Partial Final Award should have been the final

award. See Dkt. No. 1089, ¶¶17-19. The pleadings in the Chancery Court have been filed under

seal pursuant to a protective order, but according to the HCMLP, it did not challenge any of the

factual findings, credibility assessments, or substantive legal conclusion rendered by the panel. Id.

at ¶19.

   C. The HCMLP Bankruptcy Case

          20.   On October 6, 2019, the motion to confirm the Final Award and Motion to Vacate

were scheduled to be heard by the Chancery Court, and HCMLP filed a petition for relief under

chapter 11 of the Bankruptcy Code commencing the Bankruptcy Case. See id. and Dkt. No. 1.

          21.   On April 3, 2020, the Redeemer Committee filed a general unsecured claim in the

amount of $190,824,557.00, plus “post-petition interest, attorneys’ fees, costs and other expenses

that [allegedly] continue[d] to accrue.” Proof of Claim No. 72. On April 6, 2020, the Crusader

Funds filed a general unsecured claim in the amount of $23,483,446.00, plus “post-petition

interest, attorneys’ fees, costs and other expenses. Proof of Claim No. 81

          22.   On April 8, 2020, CLO HoldCo filed Proof of Claim No. 133 (the “Initial Proof of

Claim”) which asserted a claim for the Participation Interests and Tracking Interests. See Summary

of Proof of Claim, Original Proof of Claim.

          23.   CLO HoldCo attached the Participation and Tracking Interest Schedule as well as

documents detailing the transfer of ownership to CLO HoldCo. Id.

          24.   CLO HoldCo expressly reserved the right to amend the Initial Proof of Claim. Id.

at ¶B.

                                                 6



                                                                                       Appx. 01160
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                   Page 12 of 62 PageID 9742



        25.    On July 16, 2020, the Bankruptcy Court entered the Order Approving Debtor’s

Motion under Bankruptcy Code Sections 105(a) and 363(b) for Authorization to Retain James P.

Seery, Jr. as Chief Executive Officer, Chief Restructuring Officer and Foreign Representative

Nunc Pro Tunc to March 15, 2020 entered July 16, 2020 (Dkt. No. 854) (the “July 16 Order”),

authorizing HCMLP to retain James Seery (“Mr. Seery”) as CEO and CRO. Under Mr. Seery’s

direction, on September 23, 2020, HCMLP filed the Debtor’s Motion For Entry Of An Order

Approving Settlements With (A) The Redeemer Committee Of The Highland Crusader Fund (Claim

No. 72), and (B) The Highland Crusader Funds (Claim No. 81), and Authorizing Actions

Consistent Therewith [Dkt. No. 1089] (the “Redeemer Settlement Motion”).

        26.    In the Redeemer Settlement Motion, HCMLP stated that: pursuant to the Final

Award, the Redeemer Committee was awarded damages of $190,824,557.00, inclusive of interest

(the “Damage Award”). Redeemer Settlement Motion, ¶16. In the Redeemer Settlement Motion,

HCMLP explained the terms of the proposed settlement relevant hereto as:

        The Debtor and Eames will each (a) consent to the cancellation of certain interests in the
        Crusader Funds held by them that the Panel found were wrongfully acquired, and (b) agree
        that they will not object to the cancellation of certain interests in the Crusader Funds held
        by the Charitable DAF that the Panel also found were wrongfully acquired.

Id. at ¶23.

        27.    On September 24, 2020, HCMLP filed the Declaration of John A. Morris in

Support of the Debtor's Motion for Entry of an Order Approving Settlements with (A) the Redeemer

Committee of the Highland Crusader Fund (Claim No. 72), and (B) the Highland Crusader Funds

(Claim No. 81), and Authorizing Actions Consistent Therewith [Dkt. No. 1090] (the “Morris

Declaration”). The Morris Declaration attached the actual Settlement Agreement (the “Redeemer

Settlement”) which provides, in pertinent part:


                                                  7



                                                                                       Appx. 01161
 Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                 Page 13 of 62 PageID 9743



       The Debtor and Eames each consent to the Crusader Funds, on or after the date an
       order of the Bankruptcy Court approving this Stipulation pursuant to Federal Rule
       of Bankruptcy Procedure 9019 and section 363 of the Bankruptcy Code becomes a
       final and non-appealable order (the “Stipulation Effective Date”), cancelling or
       extinguishing all of the limited partnership interests and shares in the Crusader
       Funds held by each of them respectively (collectively, the “Cancelled Highland and
       Eames Interests”), as provided for in the Arbitration Award. Each of the Debtor and
       Eames represents solely for itself that (a) it has the authority to consent to the
       cancellation or extinguishment of the Cancelled Highland and Eames Interests that
       it holds, and (b) upon the occurrence of the Stipulation Effective Date, no other
       actions by or on behalf of it are necessary for such cancellation or extinguishment.
       Each of the Debtor and Eames agrees that it will not object to the Crusader Funds,
       on or after the Stipulation Effective Date, cancelling or extinguishing the limited
       partnership interests or shares in the Crusader Funds held by Charitable DAF (the
       “Cancelled DAF Interests,” and together with the Cancelled Highland and Eames
       Interests, the “Cancelled LP Interests”). Each of the Debtor and Eames
       acknowledges that the cancellation or extinguishment of the Cancelled LP Interests
       is intended to implement Sections F.a.v and F.a.x.2 of the Final Award.

Attachment G, Settlement Agreement.

       28.    On October 20, 2020, the Bankruptcy Court held a hearing on Redeemer Settlement

Motion. Dkt. No. 1271. At the hearing, the Bankruptcy Court approved the Redeemer Settlement.

Id.

       29.    On October 21, 2020, CLO HoldCo amended its Initial Proof of Claim and filed

the CLO HoldCo Crusader Claim, stating that; “[a]ccording to Debtor, the termination of

Debtor’s interests in Crusader funds served to cancel CLO HoldCo’s participation interests in

Debtor’s interests accordingly the claim amount is reduce to $0.00.” See Proof of Claim No. 198

(emphasis added).

       30.    It is important to note that at the time CLO HoldCo filed the First Amended CLO

HoldCo Crusader Claim upon information conveyed from HCMLP, HCMLP served as

investment advisor to Charitable DAF Fund, L.P. ( “DAF Fund”), and Charitable DAF GP,

LLC (“DAF GP”) pursuant to that certain Second Amended and Restated Investment Advisory

Agreement effective January 1, 2017 (the “Investment Advisory Agreement”). As has previously
                                                8



                                                                                     Appx. 01162
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                  Page 14 of 62 PageID 9744



been detailed to the Court, DAF Fund is the sole shareholder of CLO HoldCo. See Dkt. No. 2547,

¶21. So upon information from its sole shareholder’s investment advisor concerning the HCMLP

Crusader Interest, CLO HoldCo amended its claim to $0, with reservation.

       31.     Although the CLO HoldCo Crusader Claim was amended to $0.00, CLO HoldCo

attached the Participation and Tracking Interest Schedule and identified its claim against CLO

HoldCo as one arising from Participation and Tracking Interests in investment funds. Id. CLO

HoldCo further expressly reserved the right to amend its claim and to produce additional

documents as necessary to support its claim. Id. at ¶B.

       32.     On October 22, 2020, the Bankruptcy Court entered the Order Approving Debtor’s

Settlement With (A) The Redeemer Committee Of The Highland Crusader Fund (Claim No. 72),

and (B) The Highland Crusader Funds (Claim No. 81), And Authorizing Actions Consistent

Therewith [Dkt. No. 1273] (the “Redeemer Settlement Order”).

       33.     The Redeemer Settlement Order approved the Redeemer Settlement in all respects,

including the cancellation of the HCMLP Crusader Interest and damage award which is net of the

credit HCMLP was awarded for the purchase price.

       34.     As such, CLO HoldCo is owed whatever credit HCMLP received by virtue of the

cancellation of the HCMLP Crusader Interest in the Arbitration (i) pursuant to the applicable

Participation and Tracking Interest Schedule, HCMLP is required to pay to CLO HoldCo the

proceeds of any disposition of any interest with respect to or in the HCMLP Crusader Interest; (ii)

in the Arbitration, the HCMLP Crusader Interest was disposed of and in return, HCMLP received

a credit against the damage award for the purchase price of the cancelled the HCMLP Crusader

Interest; and (iii) HCMLP therefore received proceeds of a disposition of the HCMLP Crusader

Interest through this credit and owes payment of those amounts to CLO HoldCo.

                                                9



                                                                                      Appx. 01163
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                   Page 15 of 62 PageID 9745



                                 DOCUMENTATION SUPPORTING CLAIM

              Description


     A        Schedule I, the Participation and Tracking Interest


     B        Transfer Documents


              Arbitration Documents available to CLO HoldCo will be submitted to the Court as
              necessary or requested in accordance with applicable orders and Local Rules



                                    CALCULATION OF CLAIM

         As set forth herein, the amount of the claim is unknown to CLO HoldCo because CLO

HoldCo is not a party to the Arbitration and therefore does not know the amount of the credit

received by HCMLP for the purchase price of the HCMLP Crusader Interest, nor the purchase

price HCMLP paid for the HCMLP Crusader Interest. Upon information and belief, the credit is

estimated to be at least $3,788,932 (which amount was calculated using some Crusader Fund

documents to which CLO HoldCo has access, as HCMLP documents and Arbitration documents

are not available to CLO HoldCo), and up to an amount that is the difference between the amount

of the award ($3,106,414), and the initial Crusader valuation of its claim ($8,897,899), or up to the

difference of $5,791,485 (this difference very likely reflects the credit for the purchase price paid

by HCMLP). CLO HoldCo reserves the right to further amend upon receipt of the records of

HCMLP, which should establish the precise purchase price paid for the interests.

                                    RESERVATION OF RIGHTS

         The filing of the Second Amended Crusader Proof of Claim is not, and shall not be deemed

or construed as:

                                                 10



                                                                                       Appx. 01164
 Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                   Page 16 of 62 PageID 9746



       a. a consent by CLO HoldCo to the jurisdiction of the Bankruptcy Court or any
          other United States Court with respect to proceedings, if any, pending or
          commenced in any case against or otherwise involving CLO HoldCo;

       b. a waiver or release of CLO HoldCo’s right to trial by jury in any proceeding as
          to any and all matters if triable herein, whether or not the same be designated
          legal or private rights in any case, controversy, or proceeding related hereto,
          notwithstanding any designation or not of such matters as “core proceedings”
          pursuant to 28 U.S.C. § 157(b)(2), and whether such jury trial right is pursuant
          to statute or the United States Constitution;

       c. a consent by CLO HoldCo to a jury trial in this Bankruptcy Court or any other
          court in any proceeding as to any and all matters if triable herein or in any case,
          controversy, or proceeding related hereto, pursuant to 28 U.S.C. § 157 or
          otherwise;

       d. a waiver or release of CLO HoldCo’s right to have any and all final orders in
          any and all non-core matters or proceedings entered only after de novo review
          by a United States District Judge;

       e. a waiver of CLO HoldCo’s rights to move to withdraw the reference with
          respect to the subject matter of this proof of claim, any objection thereto or other
          proceeding which may be commenced or continued in these cases against or
          otherwise involving CLO HoldCo; or,

       f. an election of remedies.


       CLO HoldCo further reserves the right to assert the claims set forth herein against any third

parties that may be liable for such claims with the Debtor, including but not limited to current or

former officers, directors or board members of the Debtor; representatives of the Debtor; agents

or employees of the Debtor, individually and as representatives of the Debtors. CLO HoldCo

reserves the right to further amend or to supplement the Second Amended Crusader Proof of Claim.




                                                 11



                                                                                         Appx. 01165
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23            Page 17 of 62 PageID 9747




                                   Attachment A

                  Schedule I, the Participation and Tracking Interest




                                                                           Appx. 01166
                         Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23             Page 18 of 62 PageID 9748


                                                               Schedule I

                                        The Participation Interests and the Tracking Interest

        The following sets forth the terms and conditions with respect to (i) a participation interest (the “AA Participation Interest”)
granted by Highland Capital Management, L.P. (“HCMLP”) in certain call options (the “AA Options”) of American Airlines Group,
Inc. (“AA”), (i) a participation interest (the “Crusader Participation Interest”, and together with the AA Participation Interest, the
“Participation Interests”) granted by HCMLP in certain participating shares of Highland Crusader Fund, L.P. (the “Onshore Crusader
Fund”) and Highland Crusader Fund II, Ltd. (the “Offshore Crusader Fund”, and such participating shares collectively, the “Participating
Crusader Shares”), and (ii) a tracking interest (the “Tracking Interest”) in certain participating shares of the Onshore Crusader Fund (the
“Tracking Crusader Shares”).

Participation Interests and Tracking Interest




                                                                                                                           Amount      Total Est. MV
American Airlines Call Options                                                              # Contracts    12/27/16 MV    Participated  Participated
CALL AAL JAN 40 1/20/17                                                                           10,000     8,710,000.00  100.0000% $ 8,710,000.00




                                                                                                                                     Appx. 01167
                     Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                      Page 19 of 62 PageID 9749

        Evidence of Participation Interests and the Tracking Interest. HCMLP shall maintain records of all payments received from or
owed by the holder of the Participation Interests and the Tracking Interest and all payments made or owed by HCMLP to the holder of
the Participation Interests and the Tracking Interest.

         Payments by and to HCMLP with respect to the Participation Interests and the Tracking Interest. Subject to any applicable tax
withholding, HCMLP shall promptly pay to the holder of the Participation Interests an amount equal to such holder’s share of (i) each
amount received and applied by HCMLP in payment of distributions and proceeds of any sale, assignment or other disposition of any
interest in, or exercise of, the AA Options comprising the AA Participation Interest, (ii) each amount received and applied by HCMLP
(or Eames, Ltd., a wholly-owned subsidiary of HCMLP, if applicable) in payment of distributions, Plan Claims (as defined in the Joint
Plan of Distribution of the Crusader Funds adopted by Highland Crusader Offshore Partners, L.P., the Onshore Crusader Fund, Highland
Crusader Fund, Ltd. and the Offshore Crusader Fund, and the Scheme of Arrangement between the Offshore Crusader Fund and its
Scheme Creditors, as applicable) and proceeds of any sale, assignment or other disposition of any interest, in each case, with respect to
or in the Participating Crusader Shares (such holder’s share of such amounts, collectively, the “Participation Proceeds”). Pending such
payment of Participation Proceeds by HCMLP to the holder of the Participation Interests, HCMLP will hold the Participation Proceeds
in trust for the benefit of such holder and will not commingle such amounts with other property of HCMLP. Subject to any applicable
tax withholding, HCMLP shall promptly pay to the holder of the Tracking Interest an amount equal to each amount received and applied
by HCMLP in payment of distributions, Plan Claims and proceeds of any sale, assignment or other disposition of any interest, in each
case, with respect to or in the Tracking Crusader Shares. Notwithstanding anything herein to the contrary, except for the right to receive
amounts specified in this paragraph and the right to direct the voting and exercise of the AA Options pursuant to the immediately
following paragraph, no holder shall have, by reason of the Participation Interests or the Tracking Interest, any rights with respect to the
AA Options, the Participating Crusader Shares or the Tracking Crusader Shares.

        Exercise of the AA Options. HCMLP shall exercise or refrain from exercising any rights with respect to the AA Options
(including voting rights) as is directed by the holder of the AA Participation Interest with reasonable advance notice. In the event that
the holder of the AA Participation Interest directs the exercise of the AA Options, such holder shall pay to HCMLP in immediately
available funds, without set-off, counterclaim or deduction of any kind, the exercise price (unless such AA Options are being exercised
via cashless exercise) plus all third party commissions and fees incurred by HCMLP in connection with the exercise of the AA Options
on or prior to 11:00 AM Dallas, Texas time on the exercise date.

        Nonrecourse Participation Interests and Tracking Interest. The Participation Interests and the Tracking Interest are held by the
holder thereof without recourse to HCMLP (except in respect of the HCMLP’s express obligations as set forth herein) and for such holder’s
own account and risk. HCMLP makes no representation or warranty as to, and shall have no responsibility for the value, legality,
genuineness, validity, sufficiency or enforceability of the Participating Interests, the Tracking Interest or any of the rights attaching to them;




                                                                                                                                    Appx. 01168
                    Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23                     Page 20 of 62 PageID 9750

any representation or warranty made by, or the accuracy, completeness, correctness or sufficiency of any information (or the validity,
completeness or adequate disclosure of assumptions underlying any estimates, forecasts or projections contained in such information)
provided (directly or indirectly through HCMLP) by any person; the performance or observance by any person (at any time, whether prior
to or after the date hereof) of the financial condition of AA, the Onshore Crusader Fund or the Offshore Crusader Fund; or (except as
otherwise expressly provided herein) any other matter relating to any person, the Participating Interests or the Tracking Interest.

        Standard of Care. Notwithstanding anything contained herein to the contrary, but subject to the holder of the AA Participation
Interest’s right and responsibility to direct the exercise and voting of the AA Options as set forth herein, HCMLP shall administer the
Participation Interests and the Tracking Interest and enforce its rights, with respect to the AA Options, the Participating Crusader Shares and
the Tracking Crusader Shares in the same manner as if it had not granted the Participation Interests or the Tracking Interest but owned the
AA Options, the Participating Crusader Shares the Tracking Crusader Shares solely for its own account with no obligation to make or receive
payments in respect of the Participation Interests or the Tracking Interest.

         Assignment. Each holder of the Participation Interests or the Tracking Interest is expressly permitted to assign or transfer any or
all of its rights with respect thereto without the consent of HCMLP.




                                                                                                                                 Appx. 01169
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 21 of 62 PageID 9751




                               Attachment B

                             Transfer Documents




                                                                  Appx. 01170
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 22 of 62 PageID 9752




                                                                  Appx. 01171
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 23 of 62 PageID 9753




                                                                  Appx. 01172
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 24 of 62 PageID 9754




                                                                  Appx. 01173
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 25 of 62 PageID 9755




                                                                  Appx. 01174
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 26 of 62 PageID 9756




                                                                  Appx. 01175
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 27 of 62 PageID 9757




                                                                  Appx. 01176
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 28 of 62 PageID 9758




                                                                  Appx. 01177
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 29 of 62 PageID 9759




                                                                  Appx. 01178
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 30 of 62 PageID 9760




                                                                  Appx. 01179
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 31 of 62 PageID 9761




                                                                  Appx. 01180
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 32 of 62 PageID 9762




                                                                  Appx. 01181
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 33 of 62 PageID 9763




                                                                  Appx. 01182
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 34 of 62 PageID 9764




                                                                  Appx. 01183
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 35 of 62 PageID 9765




                                                                  Appx. 01184
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 36 of 62 PageID 9766




                                                                  Appx. 01185
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 37 of 62 PageID 9767




                                                                  Appx. 01186
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 38 of 62 PageID 9768




                                                                  Appx. 01187
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 39 of 62 PageID 9769




                                                                  Appx. 01188
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 40 of 62 PageID 9770




                                                                  Appx. 01189
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 41 of 62 PageID 9771




                                                                  Appx. 01190
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 42 of 62 PageID 9772




                                                                  Appx. 01191
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 43 of 62 PageID 9773




                                                                  Appx. 01192
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 44 of 62 PageID 9774




                                                                  Appx. 01193
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 45 of 62 PageID 9775




                                                                  Appx. 01194
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 46 of 62 PageID 9776




                                                                  Appx. 01195
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 47 of 62 PageID 9777




                                                                  Appx. 01196
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 48 of 62 PageID 9778




                                                                  Appx. 01197
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 49 of 62 PageID 9779




                                                                  Appx. 01198
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 50 of 62 PageID 9780




                                                                  Appx. 01199
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 51 of 62 PageID 9781




                                                                  Appx. 01200
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 52 of 62 PageID 9782




                                                                  Appx. 01201
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 53 of 62 PageID 9783




                                                                  Appx. 01202
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 54 of 62 PageID 9784




                                                                  Appx. 01203
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 55 of 62 PageID 9785




                                                                  Appx. 01204
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 56 of 62 PageID 9786




                                                                  Appx. 01205
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 57 of 62 PageID 9787




                                                                  Appx. 01206
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 58 of 62 PageID 9788




                                                                  Appx. 01207
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 59 of 62 PageID 9789




                                                                  Appx. 01208
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 60 of 62 PageID 9790




                                                                  Appx. 01209
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 61 of 62 PageID 9791




                                                                  Appx. 01210
Case 3:21-cv-00881-X Document 138-61 Filed 07/14/23   Page 62 of 62 PageID 9792




                                                                  Appx. 01211
